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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF GEORGIA
                                         ATLANTA DIVISION

              BARBARA EVERETTE,
                               Plaintiff,                  CIVIL ACTION NO.
              v.                                           1:05-CV-2894-BBM
              RACETRAC PETROLEUM, INC.,
                               Defendant.


                             MAGISTRATE JUDGE'S SCHEDULING ORDER

                    Upon review of the information contained in the joint Preliminary Report and

             Discovery Schedule form completed and filed by the parties, the Magistrate Judge

             ORDERS that the time limits for adding parties, amending the pleadings, filing

             motions, completing discovery (the discovery deadline in this case is May 1, 2006),

             and discussing settlement are as stated in the above completed form, and this case

             having been initiated by complaint filed on November 10, 2005, will be set for trial

             after all dispositive motions have been ruled on.1




                    1
                    The Magistrate Judge’s Guidelines for Discovery and Motion Practice is hereby
             incorporated by reference.


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             Requirements for Summary Judgment Motion/Proposed Consolidated Pretrial Order:

                   1.     Any motions for summary judgment must be filed by May 22, 2006, and

             if no motions for summary judgment are filed, the Proposed Consolidated Pretrial

             Order will be due on June 1, 2006.

                   2.     Whenever a motion for summary judgment is filed, the non-moving party

             shall file a response to the moving party's "Statement of Undisputed Material Facts."

             In the response, the non-moving party shall respond to each numbered fact by number,

             admitting or denying the fact, and providing citations to the record to support any

             denial. The Court will deem as admitted those facts in the moving party's statement

             that the non-moving party does not controvert with citations to the record in its

             response to that statement. L.R. 56.1(B)(2) N.D. Ga.

                   3.     All depositions that are referred to by either party in support of, or in

             opposition to, a motion for summary judgment shall be filed with the court. The parties

             shall attach to their memoranda of law in support of, or in opposition to, a motion for

             summary judgment, copies of all deposition pages referred to in the memoranda.

                   4.     Absent prior written permission by the court, no party may file a brief in

             support of a motion or a response to a motion exceeding (25) double-spaced pages in



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             length, and no party may file a reply brief exceeding (15) double-spaced pages. A

             motion requesting an increase in the page length for a brief must be filed, and a copy

             delivered to chambers, prior to the due date for the brief. The text of a brief, including

             footnotes, may not be printed in a format producing more than 10 characters per inch.

             L.R. 7.1(D) N.D. Ga.

                    5.     If a motion for summary judgment is filed, the Consolidated Pretrial Order

             will be due thirty days after the District Court's final ruling on the motion for summary

             judgment, if there are matters left to be tried.

                    IT IS ORDERED that the parties are directed to adhere to the above deadlines.

             Any motions requesting extensions of time must be made prior to the existing deadline

             and will be granted only in exceptional cases where the circumstances on which the

             request is based did not exist or the attorney(s) could not have anticipated that such

             circumstances would arise at the time the Preliminary Report was filed. Failure to

             comply with this order, may result in the imposition of sanctions, including the

             dismissal of this action.




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                   The Clerk is directed to submit this action by June 6, 2006, if the parties have

             not filed a Motion for Summary Judgment or Proposed Consolidated Pretrial Order.

                   IT IS SO ORDERED, this 4th day of January, 2006.




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